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                                    The Law Offices Of

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                                                    November 8, 2020


Hon. Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New Yok, N.Y. 10007

Re:       United States v. Michael D’Alessio, 18-CR-617 (JMF)
          Application and Proposed Order to Seal Exhibits

Dear Judge Furman:

       In connection with Mr. D’Alessio’s Memorandum of Law in Support of Motion to
Reduce Sentence Pursuant to Title 18 U.S.C. 3582(c)(1)(A)(i), the defense wishes to file certain
records under seal as Exhibit E, F, and G.

        We respectfully request leave to seal these exhibits in entirety, as they contain only
medical and health information relating to the defendant. See Lugosch v. Pyramid Co. of
Onondaga County, 435 F.3d 110, 119-27 (2d Cir. 2006) (noting that privacy interests can justify
the sealing of documents). I have e-mailed a copy of these exhibits to chambers, for Your
Honor’s consideration.

                                                    Respectfully submitted,


                                                    Joseph A. Bondy


c:          AUSA Daniel Nessim
     Application GRANTED. That said, Counsel should resend the documents to Chambers as PDFs, not
     as files that need to be downloaded. The Clerk of Court is directed to terminate Doc. #56 and
     maintain the exhibits under seal. SO ORDERED.

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                                                      November 9, 2020
